
USCA1 Opinion

	




                            UNITED STATES COURT OF APPEALS                            UNITED STATES COURT OF APPEALS                                FOR THE FIRST CIRCUIT                                FOR THE FIRST CIRCUIT                                                                                     ___________________________          No. 92-2440                     EVELYN COTTO AND EDWIN TORRES, ETC., ET AL.,                               Plaintiffs, Appellants,                                         v.                               UNITED STATES OF AMERICA,                                 Defendant, Appellee.                                                                                     _________________________                     APPEAL FROM THE UNITED STATES DISTRICT COURT                           FOR THE DISTRICT OF PUERTO RICO                    [Hon. Jaime Pieras, Jr., U.S. District Judge]                                             ___________________                                                                                     _________________________                                        Before                                Selya, Circuit Judge,                                        _____________                           Feinberg,* Senior Circuit Judge,                                      ____________________                              and Stahl, Circuit Judge.                                         _____________                                                                                     _________________________               Peter John Porrata for appellants.               __________________               Fidel  A.  Sevillano  del   Rio,  Assistant  United   States               _______________________________          Attorney, with whom Daniel F. Lopez Romo, United States Attorney,                              ____________________          was on brief, for appellee.                                                                                     _________________________                                                                                                                         _________________________                                                                      _______________          *Of the Second Circuit, sitting by designation.                    SELYA,  Circuit Judge.   This appeal  arises out  of an                    SELYA,  Circuit Judge.                            _____________          action brought  against the United  States by family  members and          personal representatives  of an  injured minor under  the Federal          Tort  Claims Act (FTCA), 28  U.S.C.    1346(b), 2671-2680 (1990).          Long  after the  district  court dismissed  the case,  plaintiffs          sought to revivify it but failed.   Believing, as we do, that the          district court appropriately rebuffed the attempted resurrection,          we affirm the judgment below.          I.  BACKGROUND          I.  BACKGROUND                    The  incident  that  sparked  this   case  occurred  on          December  13, 1987, when a small child, Alexis Agosto, caught his          hand  in a conveyer  belt operated by  an employee of  the United          States Department of  Agriculture (DOA).   On February 24,  1989,          Agosto's parents  and grandparents filed FTCA  claims on Agosto's          and their own  behalf.   On April 21,  DOA responded,  requesting          medical records,  itemized bills, and other  details.  Plaintiffs          retained  counsel.  On November 29, 1989, their attorney notified          DOA  that he  would  supply pictures  of  Agosto's injured  hand,          apparently  believing that  the  photographs would  satisfy DOA's          curiosity  anent  the extent  of  injury.   He  was wrong.   DOA,          unmollified, wrote  to the lawyer  on March 5,  1990, reiterating          its need for the  information previously requested and mentioning          that  plaintiffs' claim forms  were incomplete.   The letter also          stated:                    Please bear  in mind that the  claims must be                    substantiated  and  that  we  must  have  the                    information requested  before a determination                    can  be made  by [the  appropriate official].                                          2                    No                     ___                    further action will be  taken on these claims                    _____________________________________________                    until  the  information  requested  has  been                    _____________________________________________                    received (emphasis in original).                    ________          Instead  of  submitting further  particulars,  plaintiffs brought          suit.  They alleged, inter alia, that "[n]o affirmative action as                               _____ ____          to any  settlement or  responsibility has  been  taken by  [DOA],          although a copy of the  medical record has been provided  to them          [sic]."   This allegation was seemingly an endeavor to show that,          despite the lack of an explicit denial, DOA had implicitly denied          plaintiffs'   claim,  thus   satisfying  the   FTCA's  exhaustion          requirement.  See 28 U.S.C.   2675(a).                        ___                    The government answered  the complaint, asserting inter                                                                      _____          alia  that plaintiffs had yet  to file a substantiated, completed          ____          administrative  claim, and,  therefore, had  not  exhausted their          administrative remedy.   On August  27, 1990, a  magistrate judge          stayed proceedings for  ninety days to  allow plaintiffs a  final          opportunity  "to  provide defendant's  claim specialist  with the          necessary documentation  so that  defendant may either  accept or          reject  the claim."  The  stay proved unproductive.   On November          28, 1990, the magistrate  convened the next scheduled conference,          noted plaintiffs' counsel's absence, and reported to the district          judge  that  "the government  will  shortly move  to  dismiss the          complaint for  failure to  exhaust administrative remedy."   Even          so, some settlement negotiations continued.                    To make a tedious tale tolerably terse, the government,          prodded by the  district judge,  moved for dismissal  on May  15,                                          3          1991.   The motion papers  averred that plaintiffs  had failed to          prosecute their claims diligently at either the administrative or          judicial levels.   Among  other things, the  government proffered          the affidavit  of a  local DOA  staffer attesting to  plaintiffs'          failure to perfect their  administrative claims.  Without waiting          for plaintiffs' objection, the  district court dismissed the case          with prejudice  under Fed. R. Civ. P. 41(b).  Judgment entered on          May 28, 1991.1                    At   that   point,   plaintiffs   and   their   lawyer,          figuratively speaking, played the ostrich, burying their heads in          the sand and  ignoring the adverse  judgment.   They did not  ask          that the dismissal be vacated so that their opposition, see supra                                                                  ___ _____          note 1, might  be more  fully considered; they  did not move  for          reconsideration of the order;  they did not take an  appeal; they          did not seasonably seek post-judgment relief.  Withal, plaintiffs          suggest that  they continued  to pursue  negotiations, eventually          reaching  what  plaintiffs'  counsel  describes  as  a  tentative          agreement (ironically,  with the same DOA  representative who had          executed the aforementioned affidavit) for a $60,000  settlement.          They concede,  however, that the United  States Attorney's office          declined  to  approve  any  settlement,  presumably  because  the          lawsuit had been  dismissed with prejudice.2   They also  concede                                        ____________________               1Plaintiffs filed an opposition  to the dismissal motion one          day after the judge granted the government's motion but five days          before final judgment entered.               2It  is transparently  clear  that the  DOA  staffer had  no          authority  to  settle  the  claim  without  the  approval  of  an          appropriate   Justice  Department   official  or,   perhaps,  the                                          4          that  they never asked the district court to enforce the supposed          settlement.  Rather, plaintiffs  resumed their struthionine pose.          It was not  until September 28, 1992   sixteen  months to the day          after judgment entered    that they filed a motion  under Fed. R.          Civ. P. 60(b)(6).3   The  court below denied  the motion  without          fanfare.  This appeal followed.          II.  ANALYSIS          II.  ANALYSIS                    District  courts  enjoy   considerable  discretion   in          deciding  motions brought under Civil Rule 60(b).  We review such          rulings only for abuse  of that wide discretion.   See Teamsters,                                                             ___ __________          Chauffeurs,  Warehousemen  &amp;  Helpers  Union,  Local  No.  59  v.          _____________________________________________________________          Superline  Transp.  Co.,  953  F.2d  17,  19  (1st   Cir.  1992);          _______________________          Rodriguez-Antuna v.  Chase Manhattan  Bank Corp.,  871 F.2d 1,  3          ________________     ___________________________          (1st  Cir. 1989); Ojeda-Toro  v. Rivera-Mendez,  853 F.2d  25, 28                            __________     _____________          (1st Cir. 1988).                      In  this case,  plaintiffs'  theory seems  to be  that,          because   DOA's  representative  continued   to  negotiate  after          judgment entered, the lower court should have excused plaintiffs'          failure  to  appeal or  otherwise  contest the  dismissal.   This                                        ____________________          Secretary of Agriculture.   See 28 U.S.C.   2672  (providing that                                      ___          FTCA settlements in excess  of $25,000 may only be  effected with          the  prior  written approval  of  the  Attorney  General  or  his          designee; providing  further that, apart  from Justice Department          personnel,  only  "the  head of  the  agency"  may  serve as  the          Attorney General's delegee).               3Plaintiffs' motion for relief  from judgment mentioned  the          negotiations, but  contained  no substantiation  for the  claimed          settlement:   no confirmatory  correspondence, no  affidavit from          the DOA official who  allegedly participated in the negotiations,          no affidavit from plaintiffs' lawyer.                                          5          contention  has a variety of flaws.  Without endeavoring to cover          the waterfront, we  offer four reasons why  plaintiffs' theory is          unavailing.  In the course  of that recital, we assume the  truth          of the fact-specific statements contained in  plaintiffs' motion,          but do not credit "bald assertions, unsubstantiated  conclusions,          periphrastic   circum-locutions,   or  hyperbolic   rodomontade."          Superline, 953 F.2d at 18.          _________                    First:  Rule  60(b) seeks to balance the  importance of                    First:                    _____          finality against  the desirability  of resolving disputes  on the          merits.   See  id. at  19.   The  rule's  first five  subsections                    ___  __          delineate  specific grounds  for relief.4   In  keeping with  the                                        ____________________               4The rule states:                    On  motion and upon such  terms as are  just, the court                    may relieve  a party or a  party's legal representative                    from  a final  judgment, order,  or proceeding  for the                    following reasons:                    (1)   mistake,  inadvertence,   surprise,  or                    excusable neglect;                    (2)  newly discovered  evidence which  by due                    diligence could not  have been discovered  in                    time  to  move for  a  new  trial under  Rule                    59(b);                    (3)  fraud  (whether  heretofore  denominated                    intrinsic  or extrinsic),  misrepresentation,                    or other misconduct of an adverse party;                    (4) the judgment is void;                    (5)   the   judgment   has  been   satisfied,                    released, or discharged, or a  prior judgment                    upon which  it is based has  been reversed or                    otherwise  vacated,   or  it  is   no  longer                    equitable  that  the  judgment   should  have                    prospective application, or                    (6) any  other reason justifying  relief from                    the operation of the judgment.                    The motion shall be made within a reasonable  time, and                    for  reasons (1), (2), and  (3) not more  than one year                    after the  judgment order or proceeding  was entered or                                          6          policy  that  "there  must  be  an  end  to  litigation someday,"          Ackermann  v. United States, 340  U.S. 193, 198  (1950), the rule          _________     _____________          imposes a one-year limit on motions that invoke  clauses (1)-(3).          While this limit does not apply in haec  verba to clause (6)   as                                             ____  _____          the rule states, motions invoking  clauses (4)-(6) must only  "be          made within  a reasonable time"    clause  (6) is  designed as  a          catchall, and a motion  thereunder is only appropriate  when none          of the first five  subsections pertain.  See Liljeberg  v. Health                                                   ___ _________     ______          Servs.  Acquisition  Corp., 486  U.S.  847,  863 &amp;  n.11  (1988);          __________________________          Klapprott v. United States,  335 U.S. 601, 613 (1949);  Lubben v.          _________    _____________                              ______          Selective  Serv.  Sys. Local  Bd., 453  F.2d  645, 651  (1st Cir.          _________________________________          1972).                      Here, plaintiffs'  attempt to garb their  motion in the          raiment  of clause (6) runs aground on the bedrock principle that          clause (6) may not be used as a vehicle for circumventing clauses          (1)  through (5).  The  essence of plaintiffs'  argument is that,          under  all  the  circumstances,  their  failure  to  contest  the          dismissal constituted understandable,  ergo, excusable,  neglect.          On  its face, that theory falls squarely within the encincture of          Rule 60(b)(1) and,  as such, plaintiffs' motion,  filed more than          one  year  after the  entry of  judgment,  was time-barred.   See                                                                        ___          Pioneer Inv. Servs.  Co. v.  Brunswick Assoc., 113  S. Ct.  1489,          ________________________     ________________          1497 (1993) (explaining that,  where "a party is partly  to blame          for the delay," post-judgment  relief "must be sought within  one                                        ____________________                    taken.          Fed. R. Civ. P. 60(b).                                          7          year under subsection (1)").                      Second: Plaintiffs'  belated effort  to set  aside the                     Second                     ______          adverse  judgment also  runs  afoul of  the admonition  that Rule          60(b)(6) may not be used to escape the consequences of failure to          take  a timely  appeal.   See  Ackermann,  340 U.S.  at  197-200;                                    ___  _________          Mitchell v. Hobbs, 951 F.2d 417, 420 (1st Cir. 1991); Lubben, 453          ________    _____                                     ______          F.2d at 651; see  also Ojeda-Toro, 853 F.2d at  28-29 (collecting                       ___  ____ __________          cases).    In our  adversary  system  of  justice, each  litigant          remains under an  abiding duty to  take the legal steps  that are          necessary  to protect his or  her own interests.   See Ackermann,                                                             ___ _________          340 U.S. at 197.  Thus, Rule 60(b)(6) may  not be used as a back-          door substitute for  an omitted appeal, and, in  all but the most          exceptional circumstances,  a  party's  neglect  to  prosecute  a          timeous  appeal will bar relief  under the rule.   See Ackermann,                                                             ___ _________          340  U.S. at 197-202; Mitchell, 951 F.2d at 420; United States v.                                ________                   _____________          Parcel  of Land, Etc. (Woburn City Athletic Club, Inc.), 928 F.2d          _______________________________________________________          1, 5 (1st Cir. 1991); Lubben, 453 F.2d at 651.                                ______                    There  are  no  sufficiently exceptional  circumstances          here.   To  be  sure, plaintiffs  strive  to show  the  contrary.          Citing United States v. Baus, 834 F.2d 1114 (1st Cir. 1987), they                 _____________    ____          argue that DOA acted  in a Svengali-like manner, lulling  them to          sleep with settlement songs  while the sands of time  drained and          the appeal period expired.   This deception, they say,  justifies          relief  under Rule 60(b)(6).   The district court  did not agree.          Nor do we.                      Baus is  readily  distinguishable.   There,  defendants                    ____                                          8          (the guarantors of  a debt owed to a  federal agency) moved, long          after the fact, for  relief from a judgment entered pursuant to a          settlement agreement they had  made with the United States.   Id.                                                                        ___          at  1115-16.  We determined that the government had been dilatory          in performing its side  of the bargain and had  probably breached          its obligations  under the settlement agreement.  Id. at 1124-25.                                                            ___          We also noted  that three Assistant  United States Attorneys  had          assured the  defendants that a further  judicial determination of          indebtedness was necessary before the United States could collect          on  the guarantees,  and  that  the  defendants relied  on  these          assurances.5    Id. at  1117.  In  such straitened circumstances,                          ___          we  ruled  that the  government, by  virtue  of a  combination of          dilatory  practices,  disregard of  contractual  obligations, and          repeated  assurances, had so  muddied the  waters that  it "would          result  in  manifest  unfairness   to  deny  relief"  under  Rule          60(b)(6).  Id. at 1123.                       ___                    The  case at  bar  is  far  removed  from  Baus.    The                                                               ____          plaintiffs' Rule  60(b)(6) motion  makes no  claim that,  but for          some   misleading   conduct  attributable   to   the  government,          plaintiffs  would have  prosecuted  a timely  appeal.   There  is                                        ____________________               5Furthermore,  the judgment  in Baus  entered pursuant  to a                                               ____          stipulation; thus, the defendants had  no right of direct appeal.          After all,  a party who  has agreed  to the entry  of a  judgment          without any  reservation may  not  thereafter seek  to upset  the          judgment, save for lack of actual consent or a failure of subject          matter jurisdiction.  See Dorse  v. Armstrong World Indus., Inc.,                                ___ _____     ____________________________          798 F.2d  1372, 1375 (11th Cir.  1986); 9 James W.  Moore et al.,          Moore's  Federal Practice   203.06  (2d ed. 1993)  ("A party that          _________________________          consents to entry of  a judgment waives the right  to appeal from          it.").                                           9          nothing in the present record to demonstrate that the  government          stalled the  processing of the  claims, breached any  promise, or          otherwise acted in bad faith;  even in  this court, plaintiffs do          not  suggest that  the government  ever said  it would  waive the          exhaustion requirement or overlook the judgment's legal  effect.6          There is, moreover, nothing to indicate any kind of impediment to          plaintiffs' ability to protect their legal  interests in a timely          manner.     Unlike  in   Baus,  the  plaintiffs   instigated  the                                   ____          litigation.  They knew the status of their claims at  all stages.          They could have appealed from the entry of judgment, but did not.          And, finally, the plaintiffs  appreciated the significance of the          judgment.7                      Because  plaintiffs  advance  neither   an  objectively          reasonable  basis for not  challenging the  judgment in  a timely          manner nor evidence indicating a pattern of affirmative action on          the government's part which  would have led a  reasonably prudent                                        ____________________               6The motion papers contain no allegation either that the DOA          official who ostensibly conducted the negotiations knew about the          entry  of judgment  or  that plaintiffs'  counsel discussed  that          subject with DOA personnel.               7It is beyond  peradventure that  plaintiffs recognized  the          import of the order dismissing the  case with prejudice.  It  was          for  this very reason that plaintiffs, in their opposition to the          Rule  41 motion, argued vociferously  that they should be allowed          to  take  a  voluntary  dismissal without  prejudice  under  Rule          41(a)(1) rather  than having their case  dismissed with prejudice          under  Rule 41(b).    In  support  of this  position,  plaintiffs          claimed  that  negotiations  were  ongoing   and  settlement  was          "imminent."    Given  these  contemporaneous  statements,  it  is          disingenuous   of  plaintiffs'  counsel   to  suggest   that  the          continuation  of  settlement negotiations  led  him  to forgo  an          appeal,  thinking   that  the   judgment  could  not   block  the          realization of a negotiated settlement.                                           10          person to believe  that the dismissal  order was something  other          than it  was, Baus does not assist their cause.  Rather, we think                        ____          that plaintiffs' situation is much more akin to Ackermann.  After                                                          _________          suffering an adverse judgment in denaturalization proceedings and          failing  to prosecute  a timely  appeal, Ackermann  sought relief          under Rule  60(b)(6).  340  U.S. at  194-95.   He alleged,  inter                                                                      _____          alia, that he relied  upon advice from a government  official who          ____          assured him there was no need to appeal as he would ultimately be          released.    See  id.  at  196.    In  affirming  the  denial  of                       ___  ___          Ackermann's Rule 60(b)(6) motion, the Court stated:                    It is  not  enough for  petitioner to  allege                    that  he  had confidence  in  [the government                    official]  .  .  .  [A]nything  said  by [the                    government official]  could  not be  used  to                    relieve  petitioner of his duty to take legal                    steps to  protect his interest  in litigation                    in  which  the  United  States  was  a  party                    adverse to him.          Id.  at  197 (citations  omitted).    In language  which  appears          ___          patently  pertinent to  the  pitiful predicament  of the  present          plaintiffs, the Court concluded that, since Ackermann had made "a          considered choice not to  appeal," he "cannot not be  relieved of          such a choice because hindsight seems to indicate to him that his          decision  not  to  appeal  was probably  wrong,  considering  the          [final] outcome."   Id. at  198.   So here.   Even if  plaintiffs                              ___          reasonably believed  that DOA's representative  had authority  to          negotiate  a settlement,  this  belief in  no  way gave  them  an          indeterminate carte blanche to  ignore the district judge's entry          of  a final  judgment.    See,  e.g., Lubben,  453  F.2d  at  652                                    ___   ____  ______          (suggesting that, so long as the  decision not to take an  appeal                                          11          was one of unfettered choice and free will, courts should refrain          from  speculating  on the  reasons why  a  laggard party  did not          seasonably pursue an attack on an adverse judgment).                      We will not paint the lily.  "[T]o justify relief under          subsection  (6), a  party  must show  extraordinary circumstances          suggesting that the party  is faultless in the delay."   Pioneer,                                                                   _______          113 S. Ct. at 1497.  The instant plaintiffs do  not qualify under          so  rigorous a standard.   Their unilateral  assumption that they          could  negotiate  and  settle their  claims  notwithstanding  the          court's decree falls woefully  short of establishing either their          own  lack  of fault  or  the  kind of  exceptional  circumstances          necessary for relief under Rule 60(b)(6).                      Third:  Assuming, for argument's sake, that plaintiffs'                    Third:                    _____          motion  was  otherwise  within   the  rule's  purview,  it  would          nevertheless fail on temporal grounds.  We explain briefly.                    A  Rule   60(b)(6)  motion  "must  be   made  within  a          reasonable  time."     What   is  "reasonable"  depends   on  the          circumstances.   Cf., e.g., Sierra Club v. Secretary of the Army,                           ___  ____  ___________    _____________________          820   F.2d   513,   517   (1st  Cir.   1987)   (explaining   that          "reasonableness is a mutable cloud, which is always and never the          same")  (paraphrasing  Emerson).   Thus,  a  reasonable time  for          purposes of Rule 60(b)(6)  may be more or less than  the one-year                                            ____ __ ____          period established  for filing  motions under  Rule 60(b)(1)-(3).          See  Planet Corp.  v. Sullivan,  702 F.2d  123, 125-26  (7th Cir.          ___  ____________     ________          1983) ("The  reasonableness requirement of Rule  60(b) applies to          all  grounds; the  one  year limit  on  the first  three  grounds                                          12          enumerated merely specifies an outer boundary.").                    Here,  plaintiffs waited  sixteen months  before filing          their  motion.  This  delay   overlong  in virtually  any event            must  be  juxtaposed  in   this  case  against  plaintiffs'  bold          assertion that the supposed  $60,000 settlement figure was agreed          upon "within two months of the entry of the  order of dismissal."          Appellants'  Brief at 7.  If, as plaintiffs allege, they achieved          so prompt  a meeting of the  minds, there is no  valid excuse for          having dawdled an additional  fourteen months before alerting the          district  court to  the changed  circumstances.   Such protracted          delay scuttles any claim that plaintiffs' motion was "made within          a  reasonable time."   See, e.g., Planet  Corp., 702 F.2d  at 126                                 ___  ____  _____________          (holding, on particular facts, that a six-month delay in making a          Rule   60(b)(6)  motion   was  unreasonably   dilatory);  Central                                                                    _______          Operating Co.  v. Utility Workers  of America, AFL-CIO,  491 F.2d          _____________     ____________________________________          245, 253  (4th Cir. 1974)(similar; four-month  delay after notice          of default judgment).  Having failed to move for  relief from the          judgment  within  a  reasonable  time,  plaintiffs'   attempt  to          bootstrap   the   alleged   settlement   agreement   onto   their          "exceptional circumstance" argument is futile.                    Fourth:   An  additional precondition  to  relief under                    Fourth:                    ______          Rule 60(b)(6) is that the movent make  a suitable showing that he          or she has a  meritorious claim or  defense.  See Superline,  953                                                        ___ _________          F.2d  at 20;  Woburn City  Athletic  Club, 928  F.2d at  5.   The                        ___________________________          plaintiffs stumble over  this hurdle.   Their  motion for  relief          from judgment is utterly  silent on the exhaustion issue  and the                                          13          record is devoid  of any indication that they,  to this day, have          ever complied with the  FTCA's administrative claim requirements.          Exhaustion   of   plaintiffs'   administrative  remedies   is   a          jurisdictional prerequisite  to  the prosecution  of  their  FTCA          claims.   See  28  U.S.C.    2675(a); see  also  Swift v.  United                    ___                         ___  ____  _____     ______          States,   614  F.2d   812,  814-15   (1st  Cir.  1980).     Thus,          ______          notwithstanding  plaintiffs'  assertion that  they  received some          settlement offer  from DOA,  the district court  was entitled  to          conclude  "that  vacating  the   judgment  [would]  be  an  empty          exercise."  Superline, 953 F.2d at 20.                      _________          III.  CONCLUSION          III.  CONCLUSION                    We  are not  unsympathetic to  plaintiffs' plight.   It          appears  that a young boy suffered severe injuries; that at least          one  federal   official  believes  the  boy's   claim  should  be          compensated; and  that, as  matters stand, plaintiffs  have quite          likely been victimized by a series of blunders on their lawyer's           part (for which they may  have a claim against him).   But in our          adversary  system,   the  acts  and  omissions   of  counsel  are          customarily visited upon the  client in a civil case,  see, e.g.,                                                                 ___  ____          Link v. Wabash R.R.,  370 U.S. 626, 632-34 (1962);  United States          ____    ___________                                 _____________          v.  $25,721, 938  F.2d 1417,  1422 (1st  Cir. 1991);  Woburn City              _______                                           ___________          Athletic Club, 928  F.2d at 6; United  States v. 3,888 Pounds  of          _____________                  ______________    ________________          Atlantic Sea Scallops, 857  F.2d 46, 49  (1st Cir. 1988), and  we          _____________________          see  no legally  cognizable basis  for departing from  this well-          established principle here.  On this poorly cultivated record, we          cannot say  that  the district  court  abused its  discretion  in                                          14          refusing to reopen the final judgment.                      We do  not believe, however, that  the lawyer's conduct          should go unremarked.  A judge has an  abiding obligation to take          or  initiate appropriate disciplinary  measures against  a lawyer          for unprofessional conduct of which the judge becomes aware.  See                                                                        ___          ABA Code of Judicial Conduct Canon 3(D)(2) (1990).  We are of the          ____________________________          opinion that plaintiffs' counsel's handling of this matter before          the  lower court raises  serious questions from  start to finish.          We  therefore direct  the district  judge to  review the  record,          conduct such further inquiry as he may deem appropriate, and take          or  initiate such  disciplinary action,  if any,  as is  meet and          proper, the circumstances considered.  The clerk of  the district          court shall also mail a copy of this opinion (translated into the          Spanish language if the  district judge believes such translation          would  be   advisable)  to  each  of  the  plaintiffs,  at  their          respective home addresses.   See, e.g., Doyle v. Shubs,  905 F.2d                                       ___  ____  _____    _____          1, 3 (1st Cir.1990) (per curiam).          Affirmed.  Remanded to the district court, with instructions, for          Affirmed.  Remanded to the district court, with instructions, for          ________   ______________________________________________________          consideration of a collateral matter.          consideration of a collateral matter.          ____________________________________                                          15

